        Case 1:20-cv-11021-NMG Document 106 Filed 06/03/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

ALAN THOMAS OMORO and JOHN DOE,                    )
individually and on behalf of all others           ) Case No. 1:20-cv-11021-NMG
similarly situated,                                )
                                                   )
                        Plaintiffs,                )
                                                   )
                v.                                 )
                                                   )
 BRANDEIS UNIVERSITY,                              )
                                                   )
                        Defendant.                 )

                        DEFENDANT BRANDEIS UNIVERSITY’S
                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant Brandeis University respectfully submits this notice of supplemental authority

to invite the Court’s consideration of an order granting summary judgment on a breach-of-contract

claim in a similar COVID-19 refund case brought against a university. Applying California law,

Judge Edward J. Davila of the United States District Court for the Northern District of California

granted summary judgment to University of the Pacific on plaintiff’s claim for breach of contract

seeking tuition and fee refunds. Randall v. Univ. of the Pacific, No. 5:20-cv-03196 (N.D. Cal May

28, 2022). A true and correct copy of the order in Randall is attached as Exhibit 1.

       Judge Davila ruled that an express Student Financial Responsibility Agreement (“SFRA”)

“govern[ed] the Parties’ financial relationship with respect to tuition, fees, and refunds.” Slip op.

at 8. Since that agreement did not require educational services to be delivered in person, the court

concluded there was no breach of the express contract between the parties. Id. at 8. The court also

ruled that the SFRA—and not any implied contract governing the same subject matter—controlled

plaintiff’s refund claim. Reasoning that “there cannot be a valid, express contract and an implied

contract, each embracing the same subject matter, existing at the same time,” the court concluded
        Case 1:20-cv-11021-NMG Document 106 Filed 06/03/22 Page 2 of 3




that plaintiff could not raise an implied contract claim. Id. at 8-9. The court further concluded

that, even if an implied contract were possible, the vague promotional materials and course

catalogs raised by plaintiff did not amount to a specific promise of in-person instruction. Id. at 9-

10. Based on those conclusions, Judge Davila granted University of the Pacific’s motion for

summary judgment on plaintiff’s contract claim. Id. at 10.

DATED: June 3, 2022                         Respectfully submitted,

                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP



                                             By /s/ Kathleen M. Sullivan
                                               Kathleen M. Sullivan (BBO No. 551053)
                                               Shon Morgan (pro hac vice)
                                               Crystal Nix-Hines (pro hac vice)
                                               Marina Lev (pro hac vice)
                                               865 South Figueroa Street, 10th Floor
                                               Los Angeles, California 90017-2543
                                               Telephone:     (213) 443-3000
                                               Facsimile:     (213) 443-3100
                                               kathleensullivan@quinnemanuel.com
                                               shonmorgan@quinnemanuel.com
                                               crystalnixhines@quinnemanuel.com
                                               marinalev@quinnemanuel.com

                                                Harvey Wolkoff (BBO No.532880)
                                                Alex H. Loomis (BBO No. 699129)
                                                111 Huntington Ave., Suite 520
                                                Boston, MA 02199-3600
                                                Telephone:     (612) 712-7100
                                                Facsimile:     (612) 712-7200
                                                harveywolkoff@quinnemanuel.com
                                                alexloomis@quinnemanuel.com
                                                Attorneys for Defendant,
                                                Brandeis University




                                                 2
        Case 1:20-cv-11021-NMG Document 106 Filed 06/03/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document filed today through the Court’s CM/ECF

system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).

Dated: June 3, 2022

                                            /s/ Kathleen M. Sullivan
                                            Kathleen M. Sullivan




                                               3
